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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

KRISTOPHER MICHAEL MORGAN                                                              PLAINTIFF

VS.                                   NO. 5:21-CV-05114
                                        (LEAD CASE)

CPL. TOM MULVANEY,
JON BECKHAM, SYDNEY
SIMMONS, JOLANA WILSON,
and THERESA ROTHE                                                                  DEFENDANTS


KRISTOPHER MICHAEL MORGAN                                                              PLAINTIFF

VS.                                   NO.    5:21-CV-05124

KELLY HINELY, SYDNEY SIMMONS,
TERESA ROTHE, CPL RAINES,
CPL. EMMIUS, and SGT. SEARS                                                        DEFENDANTS


KRISTOPHER MICHAEL MORGAN                                                              PLAINTIFF

VS.                                   NO.    5:21-CV-05153

THERESA ROTHE, JON BECKHAM,
JOLANA WILSON, SYDNEY SIMMONS,
RACHEL YOUNG                                                                       DEFENDANTS


          BRIEF IN SUPPORT OF WASHINGTON COUNTY DEFENDANTS’
                     MOTION FOR SUMMARY JUDGMENT

                                        I. INTRODUCTION

       Plaintiff filed three cases, all alleging constitutional injury and a right to recover from the

Defendants under 42 U.S.C. § 1983 for alleged injuries he claims to have suffered during his

incarceration in the Washington County Jail on or about January-June 2021. His claims have been

consolidated into a single matter and this Motion will address all Washington County Defendants

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and the allegations against them. Specifically, Morgan alleges that he was denied necessary

medical care and that he did not have access to a newspaper for a period of time.

        Defendants have denied liability in this case.        There remain no genuine disputes as to

material facts herein. Even considering the facts in a light most favorable to the Plaintiff,

Defendants are entitled to judgment as a matter of law pursuant to Fed. R. Civ. P. 56.

                                   II.     STANDARD OF REVIEW

    “Summary judgment is appropriate only when the pleadings, depositions and affidavits

submitted by the parties indicate no genuine issue of material fact and show that the moving party

is entitled to judgment as a matter of law.” Uhiren v. Bristol-Myers Squibb Co., Inc., 346 F.3d 824,

827 (8th Cir. 2003). Defendants submit that there is “no genuine dispute as to any material fact

and the [Defendants are] entitled to judgment as a matter of law." Fed. R. Civ. P. 56(a). "[A]

genuine issue of material fact exists if: (1) there is a dispute of fact; (2) the disputed fact is material

to the outcome of the case; and (3) the dispute is genuine, that is, a reasonable jury could return a

verdict for either party." RSBI Aerospace, Inc. v. Affiliated FM Ins. Co., 49 F.3d 399, 401 (8th Cir.

1995). “Once a party moving for summary judgment has made a sufficient showing, the burden

rests with the non-moving party to set forth specific facts, by affidavit or other evidence, showing

that a genuine issue of material fact exists.” National Bank of Commerce of El Dorado, Ark. v.

Dow Chemical Co., 165 F.3d 602, 607 (8th Cir. 1999). The moving party has the burden of

showing the absence of a genuine issue of material fact and they are entitled to judgment as a

matter of law, but the nonmoving party may not rest upon mere denials or allegations in the

pleadings and must set forth specific facts to raise a genuine issue for trial. See Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 256, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986); Celotex Corp. v. Catrett,

477 U.S. 317, 324, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986).


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       The non-moving party “must do more than simply show that there is some metaphysical

doubt as to the material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.574,

586 (1986). “They must show there is sufficient evidence to support a jury verdict in their favor.”

National Bank, 165 F.3d at 607 (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986).

“A case founded on speculation or suspicion is insufficient to survive a motion for summary

judgment.” Id. (citing Merge v. Boehler, 762 F.2d 621, 625 (8th Cir. 1985). “The nonmoving

party must do more than rely on allegations or denials in the pleadings, and the court should grant

summary judgment if any essential element of the prima facie case is not supported by specific

facts sufficient to raise a genuine issue for trial.” Register v. Honeywell Fed. Mfg. & Techs., LLC,

397 F.3d 1130, 1136 (8th Cir. 2005) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 324, 106 S. Ct.

2548, 91 L. Ed. 2d 265 (1986)). "[S]elf-serving allegations and denials are insufficient to create a

genuine issue of material fact." Anuforo v. Comm'r, 614 F.3d 799, 807 (8th Cir. 2010). "To survive

a motion for summary judgment, the nonmoving party must substantiate [its] allegations with

sufficient probative evidence [that] would permit a finding in [its] favor based on more than mere

speculation, conjecture, or fantasy." Barber v. C1 Truck Driver Training, LLC, 656 F.3d 782, 801

(8th Cir. 2011) (quoting Putman v. Unity Health Sys., 348 F.3d 732, 733-34 (8th Cir. 2003))

(internal quotation marks omitted).

       "Disputes over irrelevant or unnecessary facts will not preclude a grant of summary

judgment." T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass'n, 809 F.2d 626, 630 (9th Cir.

1987). "A dispute is genuine if the evidence is such that it could cause a reasonable jury to return

a verdict for either party; a fact is material if its resolution affects the outcome of the case." Amini

v. City of Minneapolis, 643 F.3d 1068, 1074 (8th Cir. 2011) (citing Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248, 252, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986)), cert. denied, 132 S. Ct.


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1144, 181 L. Ed. 2d 1018 (2012).

   The Court must view all evidence and inferences in a light most favorable to the nonmoving

party. See McCleary v. ReliaStar Life Ins. Co., 682 F.3d 1116, 1119 (8th Cir. 2012). However,

"[w]hen opposing parties tell two different stories, one of which is blatantly contradicted by the

record, so that no reasonable jury could believe it, a court should not adopt that version of the facts

for purposes of ruling on a motion for summary judgment." Scott v. Harris, 550 U.S. 372, 380,

127 S. Ct. 1769, 167 L. Ed. 2d 686 (2007).

                                         III. LEGAL ANALYSIS

           A. Defendants were not deliberately indifferent to Plaintiff’s serious medical
              needs;


       Plaintiff alleges that the Medical Defendants and Cpl. Mulvaney, in his official capacity,

were deliberately indifferent to his serious medical needs by denying him adequate medication and

proper bedding to address chronic pain from “previous injuries” and “lack of protocols for previous

injuries.” 5:21-CV-05514, Doc. No. 7, p. 4, 7-8. see also, 5:21-CV-05153, Doc. No. 1, p. 4-5, 7,

8; See also, 5:21-CV-05124, Doc. 5, p. 4-6.           He also alleges that his medical requests were

ignored for more than 30 days at a time. 5:21-CV-05153, Doc. No.1, p. 8. He alleges that he was

denied medical procedures for his pain. 5:21-CV-05124, Doc. No. 5, p. 6. Finally, he alleges

that he was given an improper diet. 5:21-CV-05514, Doc. No. 7, p. 6-7. Plaintiff alleges that

the constant pain and mental duress started after his arrest “I’ve developed paranoia of groups of

people. I get really bad panic attacks.” 5:21-CV-05514, Doc. No. 7, p. 9; see also 5:21-CV-

05124, Doc. No. 7, p. 9.

       The Eighth Amendment prohibition of cruel and unusual punishment prohibits deliberate

indifference to the serious medical needs of prisoners. Luckert v. Dodge Cnty., 684 F.3d 808, 817


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(8th Cir. 2012). To prevail on his Eighth Amendment claim herein, Plaintiff must prove the named

Defendants acted with deliberate indifference to his serious medical needs. Estelle v. Gamble, 429

U.S. 97, 106 (1976); Coleman v. Rahija, 114 F.3d 778, 784 (8th Cir. 1997). The deliberate

indifference standard includes “both an objective and a subjective component: ‘The [Plaintiff]

must demonstrate (1) that [he] suffered [from] objectively serious medical needs and (2) that the

prison officials actually knew of but deliberately disregarded those needs.’ ” Jolly v. Knudsen, 205

F.3d 1094, 1096 (8th Cir. 2000) (quoting Dulany v. Carnahan, 132 F.3d 1234, 1239 (8th Cir.

1997) see also Farmer v. Brennan, 511 U.S. at 837; Estelle v. Gamble, 429 U.S. 97, 105 (1976).

       To show he suffered from an objectively serious medical need, Plaintiff must show he “has

been diagnosed by a physician as requiring treatment” or has an injury “that is so obvious that even

a layperson would easily recognize the necessity for a doctor's attention.” Schaub v. VonWald, 638

F.3d 905, 914 (8th Cir. 2011) (internal quotations and citations omitted). In this case, Plaintiff

complained primarily of (knee and back) pain from a motor vehicle accident which occurred

approximately 15 years prior to the time period at issue. He also complained of tooth pain,

migraine headaches, sciatic nerve pain, insomnia, anxiety, PTSD, ADD, ADHD, and malnutrition.

Defendants do not dispute that Plaintiff was treated for dental problems and for pain. While there

was no medical evidence to support some of Plaintiff’s claims, Defendants examined Plaintiff and

provided treatment for pain, dental care, and mental health issues.       Defendants dispute that

Plaintiff suffered all of the maladies reported. However, because Defendants responded to the

hundreds of requests for treatment from the Plaintiff by performing medical examinations and

assessments and by offering treatment based on their medical judgment, it is unnecessary to focus

on the objective component herein.

       To establish the subjective prong of deliberate indifference, a plaintiff must show that a


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prison official “actually knew of but deliberately disregarded his serious medical need.” Gordon

v. Frank, 454 F.3d 858, 862 (8th Cir. 2006). Intentionally denying or delaying access to medical

care may constitute deliberate indifference. See Estelle, 429 U.S. at 104-05; Dulany, 132 F.3d at

1239.    “Intentional delay in providing medical treatment shows deliberate disregard if a

reasonable person would know that the inmate requires medical attention, or the action of the

officers are so dangerous that a knowledge of the risk may be presumed. McRaven v. Sanders, 577

F.3d 974 (8th Cir. 2009).

        Additionally, the Eighth Circuit has held that a “prisoner must show more than negligence,

more even than gross negligence, and mere disagreement with treatment decisions does not rise to

the level of a constitutional violation.” Estate of Rosenberg by Rosenberg v. Crandell, 56 F.3d 35,

37 (8th Cir. 1995). See also, Estelle v. Gamble, 429 U.S. 97, 104 (1976) (deliberate indifference

includes intentional interference with prescribed treatment; inadvertent or negligent failure to

provide adequate medical care cannot be said to constitute “unnecessary and wanton infliction of

pain”). “Deliberate indifference may include intentionally denying or delaying access to medical

care, or intentionally interfering with treatment or medication that has been prescribed.” Vaughan

v. Lacey, 49 F.3d 1344, 1346 (8th Cir. 1995). An inmate alleging that a delay in medical treatment

constitutes deliberate indifference is required to “‘place verifying medical evidence in the record

to establish the detrimental effect of delay in medical treatment.’” Laughlin v. Schriro, 430 F.3d

927, 929 (8th Cir. 2005) (quoting Crowley v. Hedgepeth, 109 F.3d 500, 502 (8th Cir. 1997)). If

the inmate does not, he fails to raise a genuine issue of fact on an essential element of his claim,

and summary judgment is appropriate. Id.

        Whether a prison's medical staff deliberately disregarded the needs of an inmate is a

factually-intensive inquiry. Coleman v. Rahija, 114 F.3d 778, 784 (8th Cir.1997); Jensen v.


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Clarke, 94 F.3d 1191, 1197–98 (8th Cir.1996). The plaintiff-inmate must clear a substantial

evidentiary threshold to show that the prison's medical staff deliberately disregarded the inmate's

needs by administering an inadequate treatment. See Dulany, 132 F.3d at 1239 (holding “inmates

have no constitutional right to receive a particular or requested course of treatment, and prison

doctors remain free to exercise their independent medical judgment”). “[A] prisoner's mere

difference of opinion over matters of expert medical judgment or a course of medical treatment

fail [s] to rise to the level of a constitutional violation.” Taylor v. Bowers, 966 F.2d 417, 421 (8th

Cir.1992).

       1. The Medical Staff Defendants (Hinely, Wilson, Rothe, Beckham, Simmons, Young)
          were not deliberately indifferent to Plaintiff’s serious medical needs.

       In the present case, while incarcerated in the Washington County Detention Center,

Plaintiff presented repeated demands and complaints of medical, dental and mental health needs

on an almost daily basis. He often repeated reports of problems multiple times before it was

possible for any medical staff to respond to him or examine him and then again in the days just

following an examination by medical staff.         In fact, because of the volume of Plaintiff’s

complaints and the records generated thereby, the Statement of Indisputable Material Facts herein

exceeds 600 numbered paragraphs. In his Complaints herein, he complained that he was denied

medications and medical procedures and that his requests for help were ignored by medical staff.

In his deposition, Morgan alleged that he believed his constitutional rights were violated because

his medical requests were “being ignored.” See Statement of Indisputable Material Facts, Ex. B,

page 18:20-24:6. When asked what each medical defendant herein did that violated Morgan’s

constitutional rights, he stated that the fact that each Defendant was “at work” when his requests

were being “ignored” was a violation of his rights. See Id. at page 24:5-6; page 33:24-34:11; page

35:9-12; page 52:7-21; page 52:25-53:1; page 60:23-61:12.

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       However, the indisputable record herein shows that each time Morgan complained of pain

or other medical problems, his complaints were evaluated and he was treated according to the

professional medical judgment of the jail medical providers. See Statement of Indisputable

Material Facts, Ex. C, Affidavit of Kelley Hinely. In fact, Plaintiff admitted that he was in fact

treated and evaluated in the Washington County Detention Center, but the core of his Complaints

herein is that he was not given what he requested. The indisputable record is replete with

evidence of on-going and constant attempts by medical staff to address Morgan’s persistent

demands and complaints. He was evaluated for pain in his knee, his shoulder, and his back. He

was treated for that pain with medications such as Tylenol 1000 mg, Meloxicam, Baclofen and

Duloxetine. He was also given a steroid for inflammation and chronic pain and was given a knee

brace. See Statement of Indisputable Material Facts, Ex. A-3, Medical Records, pages 34-37,

38-39, 43-132. When he indicated that the medications were not working or asked that they be

increased, the medications were discontinued or increased. Statement of Indisputable Material

Facts, Ex. C, Affidavit of Kelley Hinely. When he continued to describe his pain as increased or

non-ending, medical staff ordered further testing including a AP/Lateral C-Spine X-ray and an x-

ray of his right hip and pelvis. Id.

       His vital signs were checked. He underwent blood testing including a Complete Blood

Count (CBC) and a Comprehensive metabolic panel (CMP). He was given an electrocardiogram

(EKG), a urinalysis, a Capillary blood glucose (CBG) test, a thyroid stimulating hormone (tsh)

test; he was tested for sexually transmitted diseases, for HIV and for Hepatitis C. All tests and x-

rays were normal. Despite the battery of tests he was given, Morgan then began to ask for a head

and neck CT, a bone density scan, a white blood cell count, testing for diabetes (although prior

tests did not indicate diabetes), testing of his vitamin levels and hormone levels, for cancer


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screening, and asked that his lung capacity be checked. Statement of Indisputable Material Facts,

Ex. C, Affidavit of Kelley Hinely.

       Morgan was evaluated for concerns of malnutrition. His BMI (body mass index) was

normal at 24.4. Id. at paragraph 14. All his blood work to assess his nutrition status were normal.

Id. at paragraph 16. When he asked for a second tray months later, his BMI was still within the

normal range so a second tray of food was not necessary. Id. at paragraph 66.

       When Morgan requested a second mat due to his ongoing pain, he was given a second mat

for two weeks. Despite medications and having the mat as requested, Morgan continued to report

that he suffered nerve pain and pain in his shoulder, hip, lower back and leg. See Statement of

Indisputable Material Facts, Ex. C, Affidavit of Kelley Hinely, paragraphs 29-34.           It was

determined that an unending second mat/blanket order was unnecessary.            Id. Morgan also

reported that he had fallen and injured his hip. No fall was reported by detention staff. To assess

Morgan, the medical provider passively observed Morgan in his housing unit for several minutes

and observed no impairment and no problems walking. Statement of Indisputable Material Facts,

Ex. C, Affidavit of Kelley Hinely, paragraph 52-53.

       Morgan reported mental health needs including insomnia, anxiety, PTSD, ADD, ADHD.

He stated he was getting angry over little things and indicated that he suffered panic attacks.

Although he reported (and verified in his deposition) a long history of self-medication when out

of jail by use of alcohol and marijuana, he was treated for these issues with a prescription

medication, Zyprexa, for mood stabilization. Although he first reported that the Zyprexa was not

working, he later asked that the dosage be increased. It was increased on two different occasions.

Statement of Indisputable Material Facts, Ex. C, Affidavit of Kelley Hinely, paragraph 24 and 37.

        Finally, Morgan was often evaluated for tooth pain, was treated with antibiotics and


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naproxen for that pain, and was seen by the dentist on a monthly basis. Morgan was noted as

telling the dentist he “wants as many teeth out as possible.” See Statement of Indisputable

Material Facts, Ex. A-3, page 6, 11. On other occasions, he requested the dentist remove more

than one tooth. Id. at pages 14, 21, 25, 28, and 165.

       The sheer volume of the records of constant medical attention, evaluation, and treatment

shows that no Defendant herein was deliberately indifferent to any serious medical need of the

Plaintiff. Defendants responded to hundreds of requests for treatment and testing from the

Plaintiff, performed a battery of tests to attempt to identify the various sources of the constant pain

that Morgan declared, and offered medications and medical interventions – all of which Morgan

indicated did no good for him.

       Morgan has failed to present any evidence to support his claims that he was ignored and

that there were “no protocols” for pain management. In fact, this case presents merely a matter

of Morgan’s apparent lack of satisfaction with the answers he was provided. Morgan has not and

cannot present any evidence that he actually suffered from any injury or illness that was either

undiagnosed or untreated by the medical staff in the Washington County Detention Center. There

is no proof that Morgan suffers any injury as a result of the exercise of the professional medical

judgment for the treatment of his complaints in the Washington County Detention Center. The

indisputable evidence shows that Morgan’s allegations herein are simply false.

       Morgan’s personal belief that he needed other treatment or testing is insufficient to support

his claim. His personal disagreement with the medical staff’s professional judgment is not a basis

on which Plaintiff can claim deliberate indifference. See Bender v. Regier, 385 F.3d 1133, 1137

(8th Cir. 2004) (citations omitted).




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        As noted above, deliberate indifference may be exhibited by prison medical personnel in

responding to prisoners' needs or by prison officials in intentionally denying or delaying access to

care or interfering with prescribed treatment. See Meloy v. Bachmeier, 302 F.3d 845, 849 (8th

Cir.2002). In this case, although Morgan alleges he was ignored, there is simply no evidence that

any treatment was delayed or that medical staff interfered with any treatment. Morgan cannot show

that the medical staff at the Washington County Detention Center provided him inappropriate

treatment, or that Morgan suffered any injury from a change in medication against his

wishes. See Gibson v. Weber, 433 F.3d 642, 646 (8th Cir.2006) (deliberate-indifference claim

based on inadequate medical treatment requires proof that defendant knew of and disregarded

excessive risks to inmate's health, and that injury in fact resulted); see also Meuir v. Greene County

Jail Employees, 487 F.3d 1115, 1118–19 (8th Cir.2007) (inmate has no constitutional right to

particular course of treatment, and his mere disagreement with medical treatment is not basis

for § 1983 liability).

        Plaintiff’s dissatisfaction or disagreement do not satisfy his burden of proof. Furthermore,

Plaintiff’s unrelenting demands for treatments and testing does not, without more, create an

obligation to provide him such treatments or testing and does not satisfy Plaintiff’s burden herein.

Plaintiff presents no evidence of any injury resulting from the treatment he was offered. Nor does

he present expert testimony or documentary evidence to support his claim that the treatment

provided was constitutionally inadequate. On the other hand, the Medical Staff Defendants

present, by sworn affidavit and medical records, testimony that the treatment provided (or offered)

was adequate and appropriate based on the findings of the medical testing and evaluations. The

Medical Defendants are entitled to judgment as a matter of law. DuBois v. Dooley, 277 F. App'x

651, 652 (8th Cir. 2008) citing Bloom v. Metro Heart Group of St. Louis, Inc., 440 F.3d 1025,


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1028–29 (8th Cir.2006) (speculation and conjecture do not create genuine issue of material fact).

It is settled law that “[i]n the face of medical records indicating that treatment was provided and

physician affidavits indicating that the care provided was adequate, an inmate cannot create a

question of fact by merely stating that [he] did not feel she received adequate treatment.” Nelson

v. Shuffman, 603 F.3d 439, 449 (8th Cir. 2010); See also Meuir v. Greene Cty. Jail Emps., 487

F.3d 1115, 1118–19 (8th Cir. 2007) quoting Dulany, 132 F.3d at 1240.

       2.      The Washington County (official capacity Defendant Mulvaney) was not

deliberately indifferent to Plaintiff’s medical needs.

       Concerning the non-medical staff, official capacity Defendant, there is no evidence that

Washington County, by any policy practice or custom, was deliberately indifferent to Plaintiff’s

medical needs. Plaintiff testified that he believed there was no protocol for treatment of chronic

pain. Even assuming there was no protocol, Plaintiff does not have a constitutional right to a

particular protocol. He is entitled to constitutional access to medical care for serious medical needs,

which the record shows he received. In this case, there is no evidence that Washington County

was aware of any unaddressed serious medical need of the Plaintiff or that they disregarded any

such medical need.

       In addition, Washington County provides access to medical care on the premises of the

Detention Facility 24 hours per day. This creates the best possible situation to address as many

serious medical needs of inmates as quickly and efficiently as possible. Further, there is no

evidence that Washington County directs the particular medical care provided to any particular

inmate or that any non-medical staff has any authority to substitute their own judgment for that of

medical staff on medical issues.         See Meloy v. Bachmeier, 302 F.3d 845, 849 (8th Cir.

2002)(noting that prison officials cannot substitute their judgment for medical professional's


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prescribed treatment).    The medical care to which Washington County provides access for

inmates is constitutional and appropriate.

         There is simply no basis for official capacity liability for the medical, dental and mental

health care that the Plaintiff received.

            B. Plaintiff’s claim fails to rise to a denial of his First Amendment rights;

         Regarding the Jail Defendants, Cpl. Raines, Cpl. Emmus, and Sgt. Sears, Plaintiff alleges

he was denied “[a]ccess to newspaper. They updated the kiosk and our newspaper is iledgeable.

W.C.D.C. staff says it is an I.T. problem. No access to news. It’s an I.T. problem is the only answer

we get.” 5:21-CV-05124, Doc. No. 5, p. 8. In his deposition, Morgan explained he believed that

Raines, Emmus, and Sears violated his rights because they were part of the chain of command that

told him that the problem with the paper was an “IT” problem. See Statement of Indisputable

Material Facts, Deposition, Ex. B, page 41:5-42:15. Morgan stated that he asked for a printed

paper and he was not given one. Id. at 42:16-44:1. He alleged that Sgt. Sears told him that it

would be fixed and it was fixed (legible) but was misaligned, making it harder to read. Id. at 44:9-

45:17.

         On July 2, 2021, Plaintiff submitted a grievance which stated, “may we get the newspaper

fixed. The print is to [sic] small to read… it’s a violation of our rights.” See Exhibit A2, Requests

& Grievances, Page 398. Det. Inv. Tom Mulvaney of WCDC personnel responded the same day,

“Mr. Morgan, we are aware of this issue, and doing the best we can right at this time. There is an

issue at the newspaper office regarding the way it use [sic] to be loaded, and their IT Dept. is

diligently working on this issue trying to fix it. In the meantime, you do have a TV in your housing

area with access to local and national news.” Id.




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       Supreme Court law is well established that “[p]rison walls do not form a barrier separating

prison inmates from the protections of the Constitution.” Thornburgh v. Abbott, 490 U.S. 401, 407

(1989). “[A] prison inmate retains those First Amendment rights that are not inconsistent with his

status as a prisoner or with the legitimate penological objectives of the corrections system.” Pell

v. Procunier, 417 U.S. 817, 822 (1972). Among other things, the “Constitution protects the rights

to receive information and ideas.” Kleindienst v. Mandel, 408 U.S. 753, 762 (1972). Prison policies

impinging on inmates' First Amendment rights are valid only if they are reasonably related to

legitimate penological interests. Turner v. Safley, 482 U.S. 78, 89-90 (1987); Cooper v. Schriro,

189 F.3d 781, 784 (8th Cir. 1999). “[E]ven though this court engages in a deferential review of the

administrative decisions of prison authorities, the traditional deference does not mean that courts

have abdicated their duty to protect those constitutional rights that a prisoner retains.” Fortner v.

Thomas, 983 F.2d 1024, 1029 (11th Cir. 1993).

       Generally, an absolute ban on inmate access to newspapers and magazines violates the First

Amendment because it is considered an exaggerated response to legitimate penological needs.

Mann v. Smith, 796 F.2d 79, 82 (5th Cir. 1986). Furthermore, a number of courts have held that

prisoners have a right to receive and read newspapers. See, e.g, Sizemore v. Williford, 829 F.2d

608, 610 (7th Cir. 1987) (absent restrictions based on legitimate goals of confinement, prison

inmates retain First Amendment right to receive and read newspapers). Nevertheless, certain

restrictions on access to newspapers and magazines have been recognized as valid. See Beard v.

Banks, 548 U.S. 521, 530 (2006) (prison's policy of restricting access to newspapers, magazines,

and photographs to inmates placed in most restrictive level of prison's long-term segregation unit

was justified by the need to provide particularly difficult prisoners with increased incentives for




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better prison behavior, the need to minimize the amount of property they control in their cells, and

the need to ensure prison safety).

       In this case, there is no regulation or restriction which prohibited the Plaintiff from

accessing the newspaper or from receiving information or ideas. In fact, Washington County

subscribed to the Northwest Arkansas Democrat Gazette, a newspaper that has state, local, national

and international coverage, and provided access to all detainees through the kiosk and or tables in

their housing units.    Such subscription does not violate the First Amendment.           Rather, the

complaint herein resulted because the digital programming suffered a technological error, causing

it to be very small and, as a result, illegible. There is no allegation that any Defendant or any

Washington County official caused the problem or that they were able to fix it without technical

assistance. Rather, Plaintiff merely alleges that the fact of the outage was a violation of his rights.

The law simply does not support his position.

       It is also relevant that, during the same time Plaintiff complained that he was unable to read

the newspaper, Plaintiff had access to information and ideas through the television in his housing

unit. At most, the technical glitch was negligence on the part of the software producer, not an

official at Washington County. Washington County was diligent in seeking assistance and had

the problem resolved in a timely manner. Even assuming Plaintiff could not easily read the

newspaper for one month, he fails to identify any action or policy by Washington County or any

of its employees that caused the issue. Plaintiff’s claim fails to rise to a violation of the First

Amendment. Defendants are entitled to judgment as a matter of law.

           C. Defendants are entitled to qualified immunity;

       “In a § 1983 action, state actors may be entitled to qualified immunity.” McRaven v.

Sanders, 577 F.3d 974, 980 (8th Cir.2009) (citation omitted). Qualified immunity may shield a


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government official from liability when his or her conduct does not violate “clearly established

statutory or constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982). Qualified immunity is a question of law, not a question of

fact.   McClendon v. Story County Sheriff's Office, 403 F.3d 510, 515 (8th Cir.2005).

        Qualified Immunity is “an immunity from suit rather than a mere defense to liability; and

like an absolute immunity, it is effectively lost if a case is erroneously permitted to go to trial.”

See Mitchell v. Forsyth, 472 U.S. 511, 526 (1985), Brown v. Nix, 33 F.3d 951, 953 (8th Cir. 1994).

Qualified immunity is designed to “protect officials from the disruptions of going to trial as well

as from liability for money damages. . . [i]t is important for public officials to be shielded from the

burden of trial on insubstantial claims.” Wright v. South Arkansas Regional Health Center, Inc.,

800 F.2d 199, 202-03 (8th Cir. 1986). Accordingly, the Court generally should rule upon the

defense “at the earliest possible time.” Id.

        In deciding the qualified immunity question, the court should "ask whether the agents acted

reasonably under settled law in the circumstances, not whether another reasonable, or more

reasonable interpretation of the events can be constructed ...." Hunter v. Bryant, 502 U.S. 224, 228

(1991). “Government officials performing discretionary functions generally are shielded from

liability for civil damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457

U.S. 800, 818 (1982). The test for qualified immunity is an objective one. Id. Officials should not

have to always err on the side of caution out of a fear of being sued. Id. at 229. Qualified immunity

“provides ample protection to all but the plainly incompetent or those who knowingly violate the

law.” Malley v. Briggs, 475 U.S. 335 (1986).

        In Pearson v. Callahan, 129 S.Ct. 808 (2009), the U.S. Supreme Court held that there are


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two prongs to a qualified immunity analysis. A court must consider both whether a constitutional

right has been violated and whether that right had been clearly established at the time of the alleged

violation. The Court held in Pearson, that, while often appropriate, is not mandatory to consider

these issues in any particular sequence. Under Pearson, courts are “permitted to exercise their

sound discretion in deciding which of the two prongs of the qualified immunity analysis should be

addressed first in light of the circumstances in the particular case at hand.” Pearson, 129 S.Ct. at

818 (overruling, in part, in Saucier v. Katz, 533 U.S. 194, 201 (2001)).

           In this case, Plaintiff has failed to prove a constitutional violation by any of the named

Defendants.       Defendants are entitled to the protections of qualified immunity.

               D. There is no basis for official capacity/county liability.

           Plaintiff’s official capacity claims are "functionally equivalent to a suit against the

employing governmental entity." Veatch v. Bartels Lutheran Home, 627 F.3d 1254, 1257 (8th Cir.

2010). In other words, the official capacity claims are treated as claims against Washington

County. See Murray v. Lene, 595 F.3d 868, 873 (8th Cir. 2010). It is well-settled that a suit against

a county official or employee, in his official capacity, is the equivalent of a suit against the county

itself. See Liebe v. Norton, 157 F.3d 574, 578 (8th Cir. 1998); see also Hafer v. Melo, 502 U.S.

21, 25 (1991).       Official capacity suits represent “only another way of pleading an action against

an entity of which an officer is an agent.”    See Kentucky v. Graham, 473 U.S. 159, 165-166 (1985)

(quoting Monell v. New York City Dept. of Social Services, 436 U.S. 658, 690, n.55 (1978).             In

short, “an official capacity suit is, in all respects other than name, to be treated as a suit against the

entity.”      Id. At 166 (citing Brandon v. Holt, 469 U.S. 464, 471-472 (1985).           In fact, when

officials of a county die or leave office, their successors automatically assume their roles in the

litigation.    See Hafer, 502 U.S. at 25 (citing Fed. R. Civ. Proc. 25(d)(1); Fed. Rule App. Proc.


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43(c)(1); and S. Ct. Rule 35.3). Furthermore, multiple official capacity claims against officials

and employees of the same entity are legally identical and redundant, such that the dismissal of

one precludes further litigation of any of the others.   See Baker v. Chisom, 501 F.3d 920 (8th Cir.

2007), cert denied, 554 U.S. 902.

       However, "it is well established that a municipality cannot be held liable on a respondeat

superior theory, that is, solely because it employs a tortfeasor." Atkinson v. City of Mountain View,

Mo., 709 F.3d 1201, 1214 (8th Cir. 2013). A governmental entity, here Washington County, may

be held liable for the unconstitutional acts of its officials and/or employees only when those acts

implement or execute an unconstitutional county policy or custom.          See Doe v. Washington

County, 150 F.3d 920, 922 (8th Cir. 1998). Therefore, to establish Washington County's liability

under § 1983, "plaintiff must show that a constitutional violation was committed pursuant to an

official custom, policy, or practice of the governmental entity." Moyle v. Anderson, 571 F.3d 814,

817 (8th Cir. 2009)(citation omitted).

       To establish the existence of an unconstitutional policy, the Plaintiff must point to "a

deliberate choice of a guiding principle or procedure made by the municipal official who has final

authority regarding such matters." Mettler v. Whitledge, 165 F.3d 1197, 1204 (8th Cir. 1999).

Where an official policy is itself unconstitutional or directs employees to take unconstitutional

action, no evidence beyond a statement of the policy and its exercise is necessary to establish §

1983 liability. Szabla v. City of Brooklyn Park, 486 F.3d 385, 389-90 (8th Cir.2007). Id. at 817-18.

       In the absence of a written policy, the plaintiff must identify a pattern of widespread

unconstitutional conduct that was so pervasive and well-settled that it had the effect of law. See

Jane Doe A v. Special Sch. Dist. of St. Louis County, 901 F.2d 642, 646 (8th Cir. 1990). Plaintiff

must show that the County “through its deliberate conduct . . . was the ‘moving force’ behind the


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injury alleged.” Brown, 520 U.S. at 526. In Johnson v. Douglas County Medical Dept., 725 F.3d

825 (8th Cir. 2013), the Court outlined the necessary elements for establishing the existence of an

unconstitutional custom. It stated:

       To establish a claim for "custom" liability, [Plaintiff] must demonstrate:1) The existence
       of a continuing, widespread, persistent pattern of unconstitutional misconduct by the
       governmental entity's employees; 2) Deliberate indifference to or tacit authorization of
       such conduct by the governmental entity's policymaking officials after notice to the
       officials of that misconduct; and 3) That Plaintiff was injured by acts pursuant to the
       governmental entity's custom, i.e., that the custom was the moving force behind the
       constitutional violation.

Id., 725 F.3d at 828 (citations omitted).

       In this case, Plaintiff alleged that the County was liable to him in damages because there

was no protocol for treatment of chronic pain. However, the indisputable record shows that

Plaintiff himself received treatment for alleged chronic pain throughout his incarceration in

Washington County. Washington County’s provision of access to available medical staff and

medical care within the walls of the Washington County Detention Center is not deliberately

indifferent to Plaintiff’s serious medical needs.

       Further, Plaintiff’s allegation that a computer error caused the newspaper to be illegible for

approximately one month fails to identify any county policy, practice, or custom which was the

moving force behind the alleged illegibility of the paper during that time. The simple existence of

a technological problem, without more, fails to point to some decision to proceed in a manner that

violated the Plaintiff’s rights. In fact, as noted above, the indisputable evidence shows that the

Defendants and others at Washington County engaged professionals to correct the computer error

in a reasonable period of time. In addition, Plaintiff was provided additional access to information

and ideas during the same period of time through the television in his housing area.


       Based on the foregoing, Plaintiff has failed to point to any unconstitutional policy or any

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policy, practice or custom which either caused a violation of his rights or which was deliberately

indifferent to his constitutional rights.   There is no basis stated for official capacity liability.

Washington County is entitled to judgment as a matter of law.

                                        IV. CONCLUSION

       In Celotex v. Catrett, 477 U.S. 317 (1986), the seminal case on interpreting the federal

summary judgment rule, F.R.C.P. 56(c), the Supreme Court carefully explained that a party

seeking summary judgment always has the “initial responsibility of informing the district court of

the basis for its motion, and identifying those portions of the ‘pleadings, depositions, answers to

interrogatories, and admissions on file together with the affidavits, if any,’ which it believes

demonstrate the absence of a genuine issue of material fact.” The Celotex Court held ultimately

that the movant need not submit supporting affidavits in order to prevail if he can show from the

other material on file the absence of a genuine issue of material fact. The case may properly be

cited for the proposition that a party moving for summary judgment may shift the burden of proof

by showing that the plaintiff will be unable to offer any proof on an essential element of his case

(generally referred to as the “scintilla rule”). The Court, in reaching its conclusion, explained that

its holding in Adickes v. Kress, 398 U.S. 144, a 1970 case which construed Rule 56(c), did not

mean that the burden is on the party moving for summary judgment to produce evidence showing

the absence of a genuine issue of material fact, even with respect to an issue on which the non-

moving party bears the burden of proof, but instead, the moving party may discharge its burden

by pointing out to the district court that “there is an absence of evidence to support the non-moving

party's case.” The movant may carry its burden “with or without supporting affidavits.” See

Celotex supra.    It is the non-movant who must go beyond the pleadings and by affidavit,

depositions or other substantive evidence designate specific facts showing that there is a genuine


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issue for trial. Id. (Emphasis added).

       The evidence in this case fails to support Plaintiff’s allegations of violations of his

constitutional rights.   No material facts remain in dispute.      Defendants are entitled to the

protections of qualified immunity and should be granted judgment as a matter of law.


                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
         I hereby certify that on March 21, 2022, I presented the foregoing to the Clerk of the Court
for filing and uploading to the CM/ECF system, and I mailed the document by United States Postal
Service to the following non-CM/ECF participants:

Mr. Kristopher Michael Morgan
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         I hereby certify that on March 21, 2022, I presented the foregoing to the Clerk of the Court
for filing and uploading to the CM/ECF system, which shall send notice to the following CM/ECF
participants:

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